                                                                      SO ORDERED.


                                                                      Dated: January 29, 2019




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 2                                                                    Eddward P. Ballinger Jr., Bankruptcy Judge
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 5                             UNITED STATES BANKRUPTCY COURT

 6                                     DISTRICT OF ARIZONA

 7     In re:                                            Proceedings in Chapter 7
       DONALD PETERSON AND TERRI                         No. 2:17-bk-13014-EPB
 8     PETERSON,

 9              Debtors.
       ACAR LEASING, LTD, INC., A                        ORDER TERMINATING THE
10     WHOLLY OWNED SUBSIDIARY OF                        AUTOMATIC STAY
       AMERICREDIT FINANCIAL                             Property: 2015 Buick LaCrosse
11     SERVICES, INC., DBA GM FINANCIAL,
                Movant,
12
       vs.
13
       DONALD PETERSON AND TERRI
       PETERSON, Debtors, and
14     CONSTANTINO FLORES, as Trustee,
15              Respondents.

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17           Movant, ACAR LEASING, LTD, INC., A WHOLLY OWNED SUBSIDIARY OF

18   AMERICREDIT FINANCIAL SERVICES, INC., DBA GM FINANCIAL, having filed a

19   Motion Seeking Termination of the Automatic Stay, through its counsel Patricia Doyle-

20   Kossick, P.L.C.; the Debtors, DONALD PETERSON AND TERRI PETERSON, and the

21   trustee, CONSTANTINO FLORES, having failed to file an objection to the Motion or the

22   proposed form of Order; the Court having considered the allegations contained in the Motion,

23   the Court finds that the property described as:

24
                                              Page 1
25   Case 2:17-bk-13014-EPB         Doc 36 Filed 01/29/19 Entered 01/29/19 10:43:39              Desc
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 1          2015 Buick LaCrosse, VIN 1G4GA5G32FF349235

 2   is owned by Movant and subject to a perfected security interest and lien of Movant, which

 3   interest has not been afforded adequate protection; and good cause appearing therefor, it is

 4          ORDERED, ADJUDGED AND DECREED that the Automatic Stay Against Lien

 5   Enforcement in effect with regard to the property described as:

 6          2015 Buick LaCrosse, VIN 1G4GA5G32FF349235

 7   is terminated as to ACAR LEASING, LTD, INC., A WHOLLY OWNED SUBSIDIARY OF

 8   AMERICREDIT FINANCIAL SERVICES, INC., DBA GM FINANCIAL.

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10                         ORDER SIGNED AND DATED ABOVE

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                                              Page 2
25   Case 2:17-bk-13014-EPB         Doc 36 Filed 01/29/19 Entered 01/29/19 10:43:39                 Desc
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